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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


ANTHONY CAIRNS,                              )
                                             )
                       Plaintiff,            )
                                             )       CIVIL ACTION
vs.                                          )
                                             )       FILE No. 3:19-CV-2029
A GONZALEZ INVESTMENTS LTD.,                 )
                                             )
                       Defendant.            )


                              NOTICE OF SETTLEMENT

        Plaintiff, ANTHONY CAIRNS (“Plaintiff”), by and through the undersigned

counsel, hereby notifies this Court that Plaintiff has reached settlement of all issues

pertaining to her case against Defendant, A GONZALEZ INVESTMENTS LTD.

        Plaintiff and Defendant, A GONZALEZ INVESTMENTS LTD., are presently

preparing a formal settlement agreement for signature and intend to file an Unopposed

Motion to Approve Consent Decree and Dismissal of Defendant with Prejudice once the

agreement is finalized. Plaintiff and Defendant request forty-five (45) days within which

to file its dismissal documents.




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       Respectfully submitted this 15th day of October, 2019.


                                             Law Offices of
                                             THE SCHAPIRO LAW GROUP, P.L.

                                             /s/ Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
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                                             ATTORNEYS FOR PLAINTIFF



                            CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF system on this 15th day of October, 2019.


                                             /s/ Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Attorney-in-Charge for Plaintiff
                                             Northern District of Texas ID No. 54538FL

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